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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
           Plaintiff,                         )
                                              )
      v.                                      )      No. 4:08CR394 HEA
                                              )
RONALD EUGENE JONES,                          )
                                              )
           Defendant.                         )

                        MEMORANDUM AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

        The above matter was referred to the undersigned United States Magistrate Judge pursuant

to 28 U.S.C. §636(b). Presently pending is the Defendant’s motion to suppress the contents of any

and all electronic surveillance.

#115--Defendant’s Motion to Suppress the Contents of Any and all Electronic Surveillance

        Based upon the evidence adduced at the hearing on the motion to suppress, the undersigned

makes the following findings of fact and conclusions of law:

                                         Findings of Fact

Court Authorized Title III Wiretaps

        Based upon the following facts, the undersigned concludes that the evidence obtained from

the California and Missouri wiretaps in the case now at bar were lawfully obtained and should not be

suppressed. Title III of the Omnibus Crime Control and Safe Streets Act of 1968, codified at 18

U.S.C. § 2510, et seq., and its progeny provide for the interception of wire, oral, and electronic

communication under certain circumstances. The California statutes used in this case in San Diego

directly copy from and follow the federal act. Under these statutes, an order for electronic
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surveillance may be entered by a United States District Judge upon application of a federal law

enforcement officer who has been authorized to make such an application by the United States

Attorney General or his authorized designee. An authorization for such application is presumed to

be valid, unless the person challenging the application makes a prima facie showing that it was not

so authorized. See United States v. O’Connell, 841 F.2d 1408, 1416 (8th Cir. 1988). The

application must include a full and complete description of the facts relied upon, including details of

the alleged offense; the description of the facilities where the communications are to be intercepted;

a description of the communication sought to be intercepted; the identity of persons known whose

communications will be intercepted; whether or not other investigative procedures had been tried and

failed, and the period of time for which interception is requested. The application must also include

whether previous applications involving the same facilities, persons, or places have been made. See

18 U.S.C. § 2518(1). The applications here contain all the statutorily required material. Thus, there

was no error in the form of the application.

       Under § 2518(3), the court may issue an order only if it finds probable cause to believe that

1) a person is committing one of the crimes enumerated in 18 U.S.C. § 2516; 2) the communications

concerning such offense will be obtained through the interception, and 3) the place where the

communications are to be intercepted is being used in connection with the commission of such

offense. A review of the evidence reveals that probable cause has been shown for each of the above

three items, both in the California wiretaps and in the Missouri wiretaps. Probable cause required for

a wiretap order “does not differ from that required by the Fourth Amendment for a search warrant.”

United States v. Macklin, 902 F.2d 1320, 1324 (8th Cir. 1990). See United States v. Leisure, 844

F.2d 1347, 1354 (8th Cir. 1988). As stated in Macklin, supra,


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       The task of the issuing magistrate is simply to make a practical, commonsense (sic)
       decision whether, given all the circumstances set forth in the affidavit before him,
       including the “veracity” and “basis of knowledge” of persons supplying hearsay
       information, there is a fair probability that contraband or evidence of a crime will be
       found in a particular place. And the duty of the reviewing court is simply to ensure
       that the magistrate had a “substantial basis for. . . conclud[ing]” that the probable
       cause existed.

Macklin, 902 F.2d at 1324.

       As is the case in other search warrant affidavits, the Supreme Court has stated:

       In dealing with probable cause, however, as the very name implies, we deal with
       probabilities. These are not technical; they are the factual and practical considerations
       of everyday life on which reasonable and prudent men, not legal technicians, act.

Brinegar v. United States, 338 U.S. 160, 175 (1949).

       Further, probable cause in an affidavit, “must be seen and weighed not in terms of library

analysis by scholars, but as understood by those versed in the field of law enforcement.” Illinois v.

Gates, 462 U.S. 213, 232. (1983).

       It is also clear that information from a reliable informant, without more, may provide probable

cause for the issuance of a search warrant. See United States v. Pressley, 978 F.2d 1026 (8th Cir.

1992). In addition, even an anonymous tip from a crime stopper’s hotline or an informant whose

reliability has not been tested is sufficient information upon which to create probable cause as long

as there is adequate corroboration of even innocent details. See United States v. Briley, 726 F.2d

1301 (8th Cir. 1984).

       A. The Wiretaps Authorized in San Diego, California

       On January 4, 2008, Special Agent Martha Dawe of the San Diego office of the Drug

Enforcement Administration (“DEA”), filed an affidavit before the Honorable Jeffrey Frazier, Judge

of the San Diego County Superior Court, requesting permission to intercept conversations on two


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target telephones which were detailed in the affidavit. Target telephone #1 was used by Richard

Rodriguez, and was a cellular telephone registered to the name of another person. Richard Rodriguez

is indicted in the case now at bar in this district. The second telephone was allegedly used by Mario

Carrillo-Ramirez. The fifty page affidavit filed before Judge Frazier in support of the interception

order states in pertinent part as follows:

       Richard Rodriguez has been involved for approximately eleven years in a drug organization

based in San Diego, California and Tijuana, Mexico. Rodriguez was originally a courier for this

organization, however, now he coordinates drug shipments for the organization throughout the

United States and Puerto Rico.        His duties include the coordination of vehicles and other

transportation methods, the collection of proceeds, the control of multi-kilograms of heroin, and the

remission of the proceeds to Mexico. Another member of this conspiracy, is a person named Victor

Villarreal. Villarreal is alleged by Agent Dawe to be the leader of the drug organization in the United

States who has contact with a source of supply in Mexico. Villarreal often travels to Mexico with

Rodriguez to meet with the source of supply and arrange for shipments of drugs to be brought into

the United States. Specifically, after the drugs are imported into the United States, the drugs are

distributed through Rodriguez to St. Louis, Chicago, San Diego, Puerto Rico, and other areas in the

United States. During the course of the investigation into this matter, the San Diego DEA developed

a confidential source or reliable informant, who they had used on previous occasions and whose

information had been reliable in the past. This informant provided them with the above information.

This informant, in conversations directly with Rodriguez, learned through Rodriguez that Rodriguez

was selling multi-kilogram quantities of heroin to a person in St. Louis, known only as “Creer.”

Rodriguez told the informant that Villarreal has a good source of supply in Mexico. Rodriguez was


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guarded about the source and neither DEA nor the informant has been able to discover the identity

of the source. Rodriguez told the source that he wire transfers drug money to Mexico, but uses only

Mexican grocery stores, and always uses aliases when transferring the money. In conducting a

surveillance on Rodriguez, agents were able to observe him going to various grocery stores and using

wire transfers to transfer money to Mexico. They were able to check at one of these grocery stores,

and determine that Rodriguez used a fictitious name in sending the money to Mexico. During

telephone conversations with the informant over target telephone #1, Rodriguez told the informant

that he had, in August and September 2007, delivered multi-kilogram quantities of heroin to the

individual “Creer” in St. Louis, and collected approximately $80,000 for the heroin which he remitted

to California. This conversation was made over the target telephone which is the subject of the

wiretap application. Further, after this direct conversation, in August or September, the informant

was arrested by separate authorities for possession with intent to distribute methamphetamine. This

criminal activity was carried out in violation of his agreement with the DEA, and the informant is now

serving time in jail for this offense and is no longer cooperating. In order to determine that Rodriguez

and others were still involved in drug-dealing activity, numerous surveillances were set up on

Villarreal and Rodriguez in the San Diego area during the middle to late part of November 2008.

These surveillances revealed activity consistent with continued importation of drugs and the

distribution of drugs around the country. The agents attempted to place a GPS device on

Rodriguez’s vehicle, however, he often went to the Country of Mexico with Villarreal to meet with

the source of supply, and the agents were unable to surveil him or follow him into Mexico. In

addition, pen registers and subpoenaed toll records on target telephone #1 used by Rodriguez

continued to show contact with the other conspirators up to the end of December 2007. They also


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included contacts with individuals in St. Louis, who the agents were unable to positively identify.

Eventually, “Creer” was identified as Ronald Jones, but only after the Judge signed the wiretap order

on target telephone #1, and agents were able to conduct a surveillance and make a stop, based on a

ruse, of Jones and his girlfriend and identify them.

       Thus, based on the above facts, the undersigned concludes that there was ample probable

cause shown to issue an order to intercept the communications of Rodriguez over cellular telephone,

target #1. The agents were aware from monitoring of phone calls by the confidential informant,

before his arrest, that Rodriguez discussed drug activity on this phone. These phone calls directly

related to Rodriguez’s dealing of drugs in the St. Louis area, as well as his obtaining drugs from

Mexico, and his operations around the country. When this is combined with the surveillances

conducted in November, and the confirmation that the phone was still being used to contact his co-

conspirators in December, the undersigned concludes that there was at least a “fair probability” the

phone was still being used by Rodriguez to carry on his drug dealing activity. Therefore, there was

probable cause for issuance of the warrant.

       B. Wiretaps Authorized in St. Louis, Missouri

       After Jones was identified as a major distributor of heroin in the St. Louis area, which heroin

he obtained at least in part from the Mexico/San Diego drug organization of which Rodriguez was

a member, the DEA applied for warrants to monitor the cellular telephones that Ronald Jones was

using to further his drug activity. In this regard, they applied for warrants to monitor target

telephones ## 1, 2 and 3 respectively on March 27, 2008, April 4, 2008, and April 25, 2008. All of

the above cellular telephones and at least three predecessor telephones were used by Jones who kept

switching cellular telephone because either he or Rodriguez believed that DEA was following them


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or attempting to wiretap them. In all, the Defendant used at least six separate telephones in a three-

month period. Rodriguez used at least three separate telephones and often used pay phones to avoid

detection. The affidavit in support of the order to intercept conversations on target telephones ##

1, 2 and 3, repeat much of the same information with a few pertinent updates. The affidavits state

in pertinent part as follows:

       The affidavits state that in 2001, a courier of heroin was stopped in Rolla, Missouri, and

multi-kilograms of heroin were seized from this courier. The courier agreed to cooperate with DEA

and checked into a motel in the St. Louis area, calling a phone number given to her. Shortly after

that, Ronald Jones was observed by DEA to drive his wife to the motel, drop her off, and then leave

the area. The spouse entered the room and retrieved the narcotics. She then called a cab to leave.

Eventually, Jones and his wife were arrested, and the wife was charged with possession with intent

to distribute heroin. The spouse received significant jail time, and the charges against Jones were

dismissed. Further, in June 2007, DEA agents in San Diego learned that one of Rodriguez’s couriers

had been stopped at the Oklahoma City bus terminal, and approximately two and one half kilos of

heroin were seized from the courier. The courier told the agents that he was to deliver the drugs to

St. Louis, but would not further cooperate with DEA. DEA determined that this was Rodriguez’s

heroin from Rodriguez’s admission to confidential source #1 in San Diego. In August, 2007, agents

determined from confidential source #1 that Rodriguez was in St. Louis delivering multi-kilograms

of heroin to “Creer” who was later identified as Jones. They determined that Jones paid Rodriguez

the $80,000 for the heroin, which Rodriguez then remitted through Mexican grocery stores to San

Diego and to Mexico. In January 2008, after the San Diego wiretap was established, agents identified

“Creer” as being Ronald Jones, and after that date, from January until March 18, the agents recorded


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numerous phone calls on Rodriguez’s cellular telephones from Rodriguez to Jones. These calls relate

the amount of heroin that Rodriguez was obtaining for Jones, the manner in which the money was

to be remitted, and the manner in which heroin would be delivered to Jones. The conversations also

detailed Jones giving heroin to Rodriguez for his own personal use when Rodriguez would come to

St. Louis to collect money from Jones. The wiretaps revealed that Jones did not touch the heroin

while it was being transported from California to St. Louis, but, instead, used other couriers and a

truck with hidden compartments. He also used several females to insulate himself from detection by

police authorities, and only dealt with individuals who he had known for long periods of time.

Further, on March 18, 2008, just one week prior to a wiretap order being signed, Rodriguez and

Jones had a conversation on the target telephone in which Rodriguez told Jones that he could obrtain

three kilos of heroin from him in the next two days and would call him back about the delivery.

       The application for target cellular telephone #2 stated that Jones had dumped or quit using

target telephone #1 (apparently because he feared detection) on the same date that the wiretap on

telephone #1 was activated. Because of this, no conversations were intercepted on target telephone

#1. As to target telephone #2, Jones was intercepted on the San Diego wiretap calling Rodriguez and

telling him that he had a new telephone number. Because of this interception, the agents were able

to determine the number of target telephone #2, and were also able to determine from his contacts

with Rodriguez and his other pattern of calling activity, that he was using telephone #2 to further his

drug activity. As to the application for monitoring of cellular telephone #3, after the wiretap on

target telephone #2 was activated, the agents were able to determine by listening to Jones that on

April 8, 2008, Jones observed a DEA surveillance vehicle parked in the vicinity of his house on Wells

Avenue. He accurately picked out the surveillance vehicles, and called other persons in the


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neighborhood to ask them to verify if any other vehicles were on the surveillance. He stated that he

was going to dump the cellular telephone that he was using and obtain another one. The records

show that on that same date, someone purchased a cellular telephone using a fictitious name, and

Jones began using that cellular telephone to conduct his drug business. All of the telephones which

all of the defendants used were either prepaid telephones in no name, or used bogus or alias names

as registrations and not their own names. Further, the interception of calls on cellular telephone #2

showed that the Defendant was working with Barbara Tyler, one of the women he used to courier

and sell heroin, to obtain a separate source of heroin in Miami, Florida. In addition, the Defendant

instructs other people who are distributing heroin for him to use third parties and never get close to

the heroin. He tells them that they can protect themselves in this way.

       Therefore, based on the above, the undersigned concludes that the affidavit shows very

substantial probable cause to believe that target telephones ## 1, 2 and 3, were being used to further

Defendant’s drug trafficking operation, and that monitoring of those phones would yield valuable

evidence which could be used for the prosecution of these matters.

       C. Necessity

        The Defendant alleges that neither of the affidavits or testimony in this matter establish a

necessity for the wiretap. § 2518(1)(c), provides that an application for an order authorizing a wiretap

must include, among other things, “a full and complete statement as to whether or not other

investigative procedures have been tried and failed, or why they reasonably appear to be unlikely to

succeed if tried, or to be too dangerous.” The Defendant alleges that the affidavit does not meet the

standard because it contains few specifics, and only uses boilerplate language to establish necessity.

He cites a Ninth Circuit case to show that the affidavit is insufficient. Because the affidavit and


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testimony of the agents shows necessity with adequate specificity and because what the Defendant

alleges is “boilerplate” has been held sufficient in the Eighth Circuit, the Defendant’s argument must

fail. In the case of United States v. Milton, 153 F.3d 891 (8th Cir. 1998), a wiretap case in which the

Defendant alleged that the affidavit did not sufficiently detail the necessity, the Court stated as follows

in upholding the language in the affidavit:

        The affidavit describes traditional investigative techniques and explains why these
        techniques do not normally prove successful when targeting drug conspiracies. Most
        of the assertions would be true in any drug investigation. The reasons given include
        witnesses’s fear in answering questions and propensity of individuals to plead the
        Fifth; the fact that normal surveillance only exposes meetings between individuals,
        leaving agents to guess at the purpose of the meetings; the residential nature of the
        neighborhood precludes agents from remaining near the suspicious residence; and that
        phone records only reveal that conversations between individuals took place but do
        not reveal the nature of the conversations. The only reason given that was specific
        to this particular investigation was that the suspects kept the trash container for the
        residence on the front porch, making it impossible for agents to search the garbage.

        Although some of these assertions might appear boilerplate, the fact that drug
        investigations suffer from common investigatory problems does not make these
        problems less vexing. Drug crime is necessarily harder to detect than other crimes
        because it is difficult to witness and does not create victims who are compelled to
        come forward and report the crime. Furthermore, agents preparing the affidavits
        supporting applications for electronic surveillance are not required to exhaust “all
        possible investigative techniques” before a court and issue an order authorizing
        interception of wire communications. U.S. v. Falls, 34 F.3d 674, 682 (8th Cir. 1994).
        The necessity prong of § 2518(3)(c) is a finding of fact subject to a clearly erroneous
        standard of review. . . We find no error in the district court’s refusal to suppress the
        wiretap evidence based on a lack of necessity.

153 F.3d 891, 895, 896 (8th Cir. 1998).

        In United States v. Thompson, 210 F.3d 855 (8th Cir. 2000), the Court again dealt with this

same issue. First, the Court determined that necessity is established where the affidavit demonstrated

that traditional procedures would fail to expose the full extent of the conspiracy and all conspirators.

See United States v. Smith, 909 F.2d 1164, 1166 (1990). Additionally, the Court stated that it was


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not required that law enforcement officers exhaust all possible techniques before applying for a

wiretap, and it was not necessary for the officers to try techniques which are likely to fail. See United

States v. Macklin, 902 F.2d 1320 (8th Cir. 1990).

        Initially, the undersigned notes, as stated above, that the necessity requirement is determined

relative to the scope of the investigation. Since the full scope of a large conspiracy may be more

difficult to fully prosecute without a wiretap, necessity must be considered along with the scope of

the investigation. See United States v. Jackson, 345 F.3d 638 (8th Cir. 2003).

        In both the San Diego and St. Louis affidavits, the scope of the matters to be investigated is

quite broad. As to the San Diego investigation, the affidavit states as follows regarding the scope of

the investigation:

        As extensively detailed below, these ordinary investigative procedures have been and
        will be ineffective in helping DEA achieve legitimate goals of this investigation which
        include the gathering of direct admissible evidence to prove beyond a reasonable
        doubt: a) the nature, extent, methods, and scope of the narcotics business of the target
        subjects and other yet unknown; b) the identities, locations, and roles of accomplices,
        aiders and abettors, co-conspirators and participants in the above described criminal
        activity, in particular those persons storing, transporting, and distributing narcotics;
        c) the locations and items used in furtherance of the above criminal activity in
        particular locations where controlled substances are stored, and the locations where
        controlled substances are distributed; d) the existence and locations of records
        pertaining to the above described criminal activity; e) the locations and sources of
        resources used to finance the above criminal activity, and f) locations and dispositions
        of proceeds from the above described criminal activity.


As to the St. Louis affidavit, the scope of the investigation is described as follows:

        1) The nature, extent and methods of operation of the heroin distribution organization
        of the target subjects and othersyet unknown; 2) the identities and roles of leaders,
        accomplices, aiders, abettors, conspirators and participants in the illegal activities; 3)
        the distribution and transfer of contraband and money involved in those activities; 4)
        the existence and location of records pertaining to those activities; 5) the location and
        sources of resources used to finance their illegal activities; 6) the location and
        disposition of the proceeds from those activities; 7) location of items used in

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       furtherance of those activities, and 8) admissible evidence as to the commission of the
       above described offenses.

       Further, contrary to what the Defendant states, specific examples are given of investigative

techniques that have been used to attempt to obtain the evidence to show the full scope of the

conspiracy as well as indications as to how those techniques have failed to reveal the full scope of the

conspiracy.

       For example, on November 29, 2007, one of the co-conspirators exited what the DEA

believed to be a “stash” house in San Diego. They attempted to follow him but could not do so

because the conspirator made U-turns in the middle of the street and exceeded the speed limit in

residential areas. Agents had to break off surveillance for fear that they would be observed. Further

on November 2, 2007, the agents attempted to follow Richard Rodriguez from his house, however,

they were unable to do so because the Defendant kept driving around the block and using other

evasive techniques and the agents were again concerned about being observed. Also, on November

2, 2007, the agents placed a tracking device on Rodriguez’s car, however, after meeting with another

conspirator, he drove to the Country of Mexico, and the agents could not follow him there. On

October 21, 2007, the San Diego police department in conjunction with the DEA conducted a parole

search of one of the subjects in this investigation. The evidence yielded by the search did not prove

very helpful to the investigation. Next, on January 19, 2007, the agents had to break off surveillance

of Rodriguez because he was using evasive techniques, and they found him to be very leery of law

enforcement. In this regard, the Defendant often changed cellular telephones because he believed he

was being followed or wiretapped, used fictitious names in registering those cellular telephones and

used pay phones to avoid detection. All of this made the use of pen registers less effective. Further,

the affidavit states that Rodriguez used fictitious names when transferring money obtained from the

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organization’s narcotics transactions to Mexico and to other places. This made the use of subpoenas

and cash transaction reports less likely to reveal any valuable information. Also, the agents at one

time had the use of an undercover informant, however, the informant could never purchase narcotics

from Rodriguez, nor could the informant learn the source of narcotics in Mexico, or learn the name

of the person who Rodriguez was dealing with in St. Louis. Eventually, DEA had to terminate the

informant because he became involved in other criminal activity. Further, the affidavit states that at

least one of the locations used by the defendants was difficult to surveil because agents had to drive

down a dead end alley in order to see the location.

       As to the St. Louis agents, the affidavit stated that since 2003, the agents in St. Louis had

utilized and attempted to utilize surveillance on many of the target subjects in St. Louis, including

Jones. The surveillances had proven problematic, however, because the subjects often used evasive

maneuvers such as driving around the block several times, checking in their rearview mirrors,

accelerating and decelerating without any apparent reason, and pulling to the curb in the middle of

a block and just watching the traffic.

       As an example of this, on January 24, 2008, agents attempted to surveil Jones when he was

leaving his house on Wells Avenue. During this surveillance, Jones was seen to look in his rearview

mirror, and when he arrived at his destination, passed up several obvious parking places to park a

considerable distance from the house with which the agents believed he was associated. After parking

the car, he sat in his car for several minutes and observed traffic. Further, on March 11, 2008, the

agents again attempted to follow Jones, but were unable to do so because of his evasive maneuvers.

The affidavit also documented the fact that Jones switched telephones on occasions to avoid

detection, used several women and other people to sell and carry drugs in order to avoid detection,


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and would not deal directly with the only confidential informant which DEA was able to cultivate.

The affidavit states both in general terms based on the expertise of the agents and specifically as

detailed above, how conventional investigatory techniques such as surveillance, pen registers, search

warrants, informants, undercover agents and trash pulls would not be successful in fully exposing the

extent of the conspiracy and the identity of each conspirator. Based on the above, the undersigned

concludes that the necessity requirement has been met.

       D. Minimization

       Additionally, Title III includes certain post-authorization duties, including objectively

reasonable efforts to minimize any unauthorized interceptions. 18 U.S.C. § 2518(5). See United

States v. Smith, 909 F.2d 1167. Further, the Court in United States v. Macklin, 902 F.2d 1320 (8th

Cir. 1990) stated as follows regarding minimization:

       In considering whether the government’s conduct was reasonable, the reviewing court
       must consider a variety of factors including the scope of the enterprise, the agent’s
       reasonable expectation of the content of the call, the extent of judicial supervision,
       length and origin of a call, and use of coded or ambiguous language... More extensive
       wiretapping is reasonable when the investigation focuses on determining the scope of
       a widespread conspiracy...The same is true when the conversations are in the jargon
       of the drug trade...Thus, the government’s conduct could be reasonable even if the
       total number of conversations intercepted contained a high percentage of nonpertinent
       calls.

United States v. Macklin, 902 F.2d at 1328.

       In the case now at bar, the Assistant United States Attorney provided the agents with detailed

written instructions and oral instructions as to the proper minimization procedures. Each monitoring

agent had to read and did read the procedures, and signed a statement stating that the monitoring

agent had read and understood the minimization procedures. In addition, the agents were closely

supervised both by the Assistant United States Attorney and by the two case agents in this matter.


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Thus, the agents were properly instructed as to minimization procedures. In addition, as can be seen

from the affidavits in this matter, much of the conversation involved in the wiretaps is done in code

of drug trade and jargon, and was done with a view toward giving the person listening as little

information as possible. Many of the conversations were less than two minutes in duration according

to the summary introduced into evidence. In addition, some of the completed phone calls in this

matter were not monitored as they took place during the hours of midnight to 8 a.m. when the phone

was not being monitored by agents. In addition, as is shown by Government’s Exhibit 3, a significant

number of the non-pertinent phone calls were, in fact, minimized. Therefore, absent a more specific

complaint, the undersigned concludes that the agents complied with the minimization requirement of

the statute, and that their minimization was objectively reasonable. See United States v. Homick, 964

F.2d 899, 903 (9th Cir. 1992); United States v. Ozar, 50 F.3d 1440, 1447-1448 (8th Cir. 1995).

Therefore, the undersigned concludes that the minimization procedures were proper, and the

monitoring of the court-authorized wiretap was reasonable.

                                            Conclusion

       Based on all of the above, the undersigned finds that the Defendant’s motion to suppress

should be denied.

                                               ***

       In accordance with the Memorandum above,

       IT IS HEREBY RECOMMENDED that the Defendant’s Motion to Suppress the Contents

of Any and all Electronic Surveillance [Doc. #115] be denied.




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       Further, the parties are advised that they have eleven (11) days, in which to file written

objections to this recommendation and determination. Failure to timely file objections may result in

waiver of the right to appeal questions of fact. Thompson v. Nix, 897 F.2d 356, 357 (8th Cir. 1990).



                                               /s/ Terry I. Adelman
                                      UNITED STATES MAGISTRATE JUDGE

Dated this 6th day of March, 2009.




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